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                        IN THE UNTIED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                               SOUTHWESTERN DIVISION

United States of America,                     )
                                              )       ORDER DENYING DEFENDANT
               Plaintiff,                     )       HUMPHREYS’S MOTION
                                              )       TO SEVER
       vs.                                    )
                                              )       Case No. 1:12-cr-017-6
Danny Eugene Humphreys,                       )
                                              )
               Defendants.                    )


       Before the Court is defendant Danny Eugene Humphreys’s motion to sever filed on May 11,

2012. See Docket No. 125. The Government filed a response in opposition to the motion on May

21, 2012. See Docket No. 132. The Court denies the motion for the reasons set forth below.



I.     BACKGROUND

       On March 21, 2012, defendant Danny Humphreys was charged with conspiracy to possess

with the intent to distribute a controlled substance in a superseding indictment. See Docket No. 34.

The superseding indictment alleges that Humphreys, along with eight co-defendants, conspired to

possess and distribute methamphetamine in North Dakota. See Docket No. 34.

       On May 11, 2012, Humphreys filed a motion to sever. See Docket No. 125. Humphreys

contends severance is warranted because the jury would have a difficult time compartmentalizing

the evidence and Humphreys believes his defense will be antagonistic with the co-defendants.
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II.     LEGAL DISCUSSION

        Rule 8(b) of the Federal Rules of Criminal Procedure provides:

                The indictment or information may charge 2 or more defendants if they are
        alleged to have participated in the same act or transaction, or in the same series of
        acts or transactions, constituting an offense or offenses. The defendants may be
        charged in one or more counts together or separately. All defendants need not be
        charged in each count.

Fed. R. Civ. P. 8(b). “Generally, the ‘same series of acts or transactions’ means acts or transactions

that are pursuant to a common plan or a common scheme.” United States v. Wadena, 152 F.3d 831,

848 (8th Cir. 1998) (citing United States v. Jones, 880 F.2d 55, 61 (8th Cir. 1989)). Rule 8(b) is to

be construed liberally. United States v. Gravatt, 280 F.3d 1189, 1191 (8th Cir. 2002) (citing Jones,

880 F.2d at 62).

        Rule 14(a) of the Federal Rules of Criminal Procedure provides, “If the joinder of offenses

or defendants in an indictment, an information, or a consolidation for trial appears to prejudice a

defendant or the government, the court may order separate trials of counts, sever the defendants’

trials, or provide any other relief that justice requires.” A motion to sever will only be granted “upon

a showing of real prejudice to an individual defendant.” United States v. Payton, 636 F.3d 1027,

1037 (8th Cir. 2011) (quoting United States v. Sandstrom, 594 F.3d 634, 644 (8th Cir. 2010)). The

prejudice must be “real” and “clear” and “[t]he defendant carries a heavy burden in making this

showing.” Id. (citing Sandstrom, 594 F.3d at 644). “A defendant ‘can demonstrate real prejudice

to his right for a fair trial by showing (a) that his defense is irreconcilable with the defense of his co-

defendant or co-defendants, or (b) that the jury will be unable to compartmentalize the evidence as

it relates to separate defendants.’” United States v. Washington, 318 F.3d 845, 858 (8th Cir. 2003)




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(quoting United States v. Jackson, 64 F.3d 1213, 1217 (8th Cir. 1995)). Severing the defendants’

trials is within the district court’s discretion. Id. (citing Sandstrom, 594 F.3d at 644).

       Humphreys contends that severance is appropriate because a jury would have difficulty

compartmentalizing the evidence as to each of the co-defendants. Severance can be justified if the

defendant shows “that the jury will be unable to compartmentalize the evidence as it relates to

separate defendants.” Payton, 636 F.3d at 1037 (quoting Sandstrom, 594 F.3d at 644). In this case,

nine defendants are charged with conspiracy to possess with the intent to distribute

methamphetamine. There is a preference for a single trial of defendants who are jointly indicted,

particularly where conspiracy is charged. “Persons charged with a conspiracy will generally be tried

together, especially where proof of the charges against each of the defendants is based on the same

evidence and acts.” United States v. Foote, 920 F.2d 1395, 1398 (8th Cir. 1990) (citation omitted).

The risk of prejudice posed by a single trial is best cured by specific jury instructions. United States

v. Mickelson, 378 F.3d 810, 818 (8th Cir. 2004).The Defendant has not met his burden of showing

that a jury will be unable to compartmentalize the evidence.

       Humphreys also contends the motion for severance should be granted because his defense

strategy will be irreconcilable with his co-defendants’ trial strategy. Humphreys states that the

“antagonistic defenses [will] result in a contest between the defendants to accuse each other by

minimizing their role in the alleged conspiracy in finger pointing between the accused.” See Docket

No. 125-1, p. 2. “[T]he mere fact that one defendant tries to shift blame to another defendant does

not mandate separate trials.” United States v. Shivers, 66 F.3d 938, 940 (8th Cir. 1995). In Shivers,

two co-defendants were charged with conspiracy to possess with intent to distribute cocaine. At the

time of arrest, defendant Shivers had a shoebox of cocaine near his feet and defendant Valentine


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possessed a duffle bag with $12,000 in cash. The co-defendants both claimed ignorance and

asserted the other was responsible for the cocaine. The trial court denied Shivers’s motion to sever

his trial. On appeal, the Eighth Circuit explained that “[p]ut simply, mere hostility between

defendants or one defendant’s attempt ‘to save himself at the expense of another’ codefendant is not

a sufficient ground to require severance.” Id. Humphreys contends that a trial involving all nine

defendants will lead to finger-pointing among the co-defendants. As the Eighth Circuit held in

Shivers, co-defendants’ attempts to shift blame to one another is insufficient to require severance.

       In order to warrant a separate trial, Humphreys has the heavy burden to demonstrate that a

trial involving all of the charged defendants would truly be prejudicial. The Court finds that the

Defendant has failed to sustain his burden of proof and has failed to establish a showing of real

prejudice so as to warrant separate trials.



III.   CONCLUSION

       The Court has reviewed the parties’ briefs, the entire record, and relevant case law. In the

exercise of its broad discretion, the motion to sever (Docket No. 125) is DENIED.

       IT IS SO ORDERED.

       Dated this 24th day of May, 2012.

                                              /s/ Daniel L. Hovland
                                              Daniel L. Hovland, District Judge
                                              United States District Court




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